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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              District
                                                       __________      of Oregon
                                                                  District of __________

                   United States of America                                    )
                              v.                                               )       Case No. 3:21-mj-00032
                       JEFFREY GRACE                                           )
                                                                               )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:21-mj-00178


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: E. Barrett Prettyman United States Courthouse                                   Courtroom No.: Via Zoom
         333 Constitution Avenue, N.W.
         Washington, DC 20001                                                          Date and Time: 2/9/2021 1:00 pm

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:        February 4, 2021
                                                                                                           Judge’s signature

                                                                                The Honorable Youlee Yim You U.S. Magistrate Judge
                                                                                                        Printed name and title
